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  A0 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                  MIDDLE District of ALABAMA
        UNITED STATES OF AMERICA                                         Judgment in a Criminal Case
                             V.                                          (For Revocation of Probation or Supervised Release)


                                                                         Case No            2:07cr155-01-MHT
             CECILY LOTIA PROVO                                                                  (WO)
                                                                         USM No.            12254-002
                                                                                                   Russell T. Duraski
                                                                                                    Defendant's Attorney
THE DEFENDANT:
X admitted guilt to violation of condition(s)            1-4 of the amended petition       filed 5/20/13 of the term of supervision.
    was found in violation of condition(s)                                             after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number           Nature of Violation                                                           Violation Ended
                           The defendant committed another federal, state or local crime.                 5/17/2013
                           The defendant failed to report to the probation officer and submit a           5/17/2013
                             truthful and complete written report within the first five days of each
                             month.
         3                 The defendant unlawfully possessed a controlled substance.                    5/17/2013
         4                 The defendant failed to comply with the rules at the Residential Re-Entry 5/17/2013
                            Center maintained or under contract to the FBOP for the 6 mos. term.
       The defendant is sentenced as provided in pages 1 through         2       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
fl The defendant has not violated condition(s)                               and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notiIy the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 9027                                                    June 3. 2013
                                                                                               Date of Imposition of Judgment
Defendant's Year of Birth:         1978

City and State of Defendant's Residence:                                                              Signature of Judge
                 Montgomery, Alabama
                                                                              MYRON H. THOMPSON, U.S. DISTRICT JUDGE
                                                                                                  Name and Title of Judge
                                                                                                                 rj
                                                                                                                Date
                 Case 2:07-cr-00155-MHT-TFM Document 264 Filed 06/07/13 Page 2 of 2


AU 245D        (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 2— Imprisonment
                                                                                                      Judgment - Page   2   of   2
DEFENDANT:                      CECILY LOTIA PROVO
CASE NUMBER:                    2:07cr155-01-MHT


                                                                   IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of:

18 Months. The term of supervised release imposed on February 21, 2008, is REVOKED.




     El The court makes the following recommendations to the Bureau of Prisons:




     X The defendant is remanded to the custody of the United States Marshal.

     El The defendant shall surrender to the United States Marshal for this district:
          LI     at                                       a. in.    El p.m.    on
          El as notified by the United States Marshal.

     El The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          El before 2 p.m. on
          LI as notified by the United States Marshal.
          El as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                           to

at                                                      with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                              By
                                                                                                DEPUTY UNITED STATES MARSHAL
